  Fill in this information to identify the case:

  Debtor 1                Julian Flores
  Debtor 2
  (Spouse, if filing)
  United States Bankruptcy Court for the: Western District of Washington (Seattle)
  Case number             11-20512

Official Form 410S1
Amended Notice of Mortgage Payment Change                                                                                                                     12/15

If the debtor¶s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor¶s principal residence,
you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement to your proof of claim at least 21 days
before the new payment amount is due. See Bankruptcy Rule 3002.1.

 Name of Creditor: Wells Fargo Bank, N.A.                                               Court claim no. (if known):           3
 Last 4 digits of any number you use to identify                                        Date of payment change:
 the debtor's account:      0083                                                        Must be at least 21 days after date of this notice       08/15/2017
                                                                                        New total payment:
                                                                                                                                                 $1,746.20
 Uniform Claim Identifier:                                                              Principal, interest, and escrow, if any



Part 1: Escrow Account Payment Adjustment
   1. Will there be a change in the debtor's escrow account payment?
          No
            Yes         Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law.
                        Describe the basis for the change. If a statement is not attached, explain why:



                                Current escrow payment:         $562.37                         New escrow payment:               $362.44

Part 2: Mortgage Payment Adjustment
   2. Will the debtor's principal and interest payment change based on an adjustment to the interest rate on the debtor's variable-
   rate account?
           No
             Yes        Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law.
                        If a notice is not attached, explain why:



             Current interest rate:                           3.48%                          New interest rate:              3.48%
             Current principal and interest payment:          $1,395.52                      New principal and interest payment:             $1,383.76

Part 3:         Other Payment Change
   3. Will there be a change in the debtor's mortgage payment for a reason not listed above?
           No
             Yes        Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan
                        modification agreement. (Court approval may be required before the payment change can take effect.)
   Reason for change:


             Current mortgage payment:                                                 New mortgage payment:




Official Form 410S1                                                 Notice of Mortgage Payment Change                                                         page 1

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Debtor 1   Julian Flores                                                           Case number (if known)       11-20512
           First Name                Middle Name              Last Name

The CM/ECF system imposes certain constraints, including limits on the number of characters that may be entered into certain fields, when filing
a proof of claim. As a result of these constraints and limitations, the creditor name that appears on the bankruptcy court¶s claims register (and
any supplemental proof of claim) may differ from the creditor name that appears on the actual proof of claim form.
Part 4: Sign Here
 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.

 Check the appropriate box:
      I am the creditor.
       I am the creditor's authorized agent.
 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge, information,
 and reasonable belief.
       /s/ Judith L. Trigg-Dooley                                           Date 06/21/2017
       Signature




 Print: Judith L. Trigg-Dooley                                              Title VP Loan Documentation
       First Name                Middle Name           Last Name

 Company     Wells Fargo Bank, N.A.                                              Specific Contact Information:
 Address     MAC N9286-01Y                                                       P: 800-274-7025
             1000 Blue Gentian Road                                              E: NoticeOfPaymentChangeInquiries@wellsfargo.com
             Eagan, MN 55121-7700




Official Form 410S1                                        Notice of Mortgage Payment Change                                                page 2

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                            UNITED STATES BANKRUPTCY COURT
                                                     Western District of Washington (Seattle)
                                                                          Chapter 13 No. 11-20512
 In re:                                                                   Judge: Timothy W Dore
 Julian Flores
                                                  Debtor(s).

                                                   CERTIFICATE OF SERVICE
 I hereby certify that on or before June 22, 2017, I served a copy of this Notice and all attachments upon each of the entities named below by the
 court's notice of electronic filing or by placing a copy thereof in an envelope, in the United States Mail with first class mail postage prepaid,
 addressed to each of them as follows:

 Debtor:                   By U.S. Postal Service First Class Mail Postage Prepaid:
                           Julian Flores
                           30845 10th Ave SW
                           Federal Way, WA 98023



 Debtor's Attorney:        By U.S. Postal Service First Class Mail Postage Prepaid:
                           Jonathan S Smith
                           Advantage Legal Group
                           12207 NE 8th St
                           Bellevue, WA 98005


 Trustee:                  By U.S. Postal Service First Class Mail Postage Prepaid:
                           K Michael Fitzgerald
                           600 University St ;2200
                           Seattle, WA 98101




                                                                          /s/ Alicia Fisher
                                                                          4 S Technologies, LLC
                                                                          (as authorized agent for Wells Fargo Bank, N.A.)




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                                                                                                                  Page   1   of 2
WELLS FARGO HOME MORTGAGE
RETURN MAIL OPERATIONS
PO BOX 14472                                                                                WELLS  OM
DES MOINES, IA 50306                                                                        FARGO MORTGAG

                                                                                    Account Information
                                                                        Fax:                  (866) 278-1179
                                                                        Telephone:            (866) 234-8271
                                                                        Correspondence:       PO Box 10335
                                                                                              Des Moines, IA 50306
        JULIAN FLORES
        30845 10TH AVE SW                                               Hours of Operation: Mon - Fri, 6 a.m. - 10 p.m.,
                                                                                              Sat, 8 a.m. - 2 p.m., CT
        FEDERAL WAY, WA 98023
                                                                        Loan Number:
                                                                        Property Address:     30845 10th Ave SW
                                                                                              Federal Way WA 98023



  May 31, 2017

                     Changes to Your Mortgage Interest Rate and Payments on August 15, 2017.
  Under the terms of your Adjustable-Rate Mortgage (ARM), you had a one month period during which your
  interest rate stayed the same. That period ends on July 15, 2017, so on that date your interest rate
  changes. After that, your interest rate may change every month for the rest of your loan term. Even though
  your interest rate adjusts every month, your payment adjusts every twelve months.

                                              Current Interest   Rate               New Interest Rate
                                              and Monthly Payment                 and Monthly Payment

              Interest Rate                        3.48000%                              3.48000%
              Principal                             $722.59                               $715.02
              Interest                              $672.93                               $668.74
              Escrow                                $562.37                               $367.34
              Total Monthly Payment               $1,957.89                          $1,751.10
                                                                                 (due August 15, 2017)
  Interest Rate:We calculated your interest rate by taking a published "index rate" and adding a certain
  number of percentage points, called the "margin ". Under your loan agreement, your index rate is
  0.29000% and your margin is 3.19000%. Your "Cost Of Savings" index is published monthly by the Wells
  Fargo Bank.

  Interest Rate Limits: Your interest rate cannot go higher than 11.95000% during the life of the loan.
  Your interest rate cannot go lower than 3.19000% during the life of the loan.




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                                                                                                        Account Information
                                                                                       Loan Number:

                                                                                       Property Address:         30845 10th Ave SW
                                                                                                                 Federal Way WA 98023


                     Changes to Your Mortgage Interest Rate and Payments on August 15, 2017.

  New Interest Rate and Payment: The table above shows your new interest rate and new monthly
  payment. Your new payment is based on the payment rate of 3.48000%, a projected loan balance of
  $230,598.68 and a remaining loan term of 228 months. Your payment can increase by no more than
  7.50000% from the Current Payment.

  Prepayment Penalty: None.

  If you have questions or concerns about your upcoming change, please call us at the number
  listed in the account information box.

  Sincerely,

                               00-b
 Carolyn Romo
 Vice President
 Wells Fargo Home Mortgage




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                                                                                        Escrow Review Statement
                                  Return Mail Operations                                For informational purposes only
                 HOME             PO Box 14547
                                  Des Moines, IA 50306-4547                             Statement Date:                                                June 8, 2017
                 MORTGAGE                                                               Loan number:
                                                                                        Property address:
                                                                                            30845 10TH AVE SW
                                                                                            FEDERAL WAY WA 98023-4501



                                                                                        Customer Service
                                                                                                     Online                          Ti-e8loet-113o4070473
                                                                                                     wellsfargo.com
          JULIAN FLORES
                                                                                                     Correspondence             (Th Hours of operation
          30845 10TH AVE SW                                                              I   -   I   PO Box 10335                    Mon - Fri 7 a.m. - 8 p.m. CT
          FEDERAL WAY WA 98023-4501                                                                  Des Moines, IA 50306
                                                                                                     To learn more, go to:
                                                                                                     wellsfargo.com/escrow


                                                                                                       We accept telecommunications relay service calls



PLEASE NOTE: If you are presently seeking relief (or have previously been granted
 relief) under the United States Bankruptcy Code, this statement is being sent to you
for informational purposes only. The summaries below are based on the terms ofthe
loan and are provided for informational purposes only.
Because the amounts billed for the escrow items can change over time, we review the
escrow account to ensure there will be enough money to make these payments. Once the
review is complete, we send the escrow review statement, also known as the escrow
account disclosure statement.

Here's what we found:                                                                        The escrow account has an overage of
   Required minimum balance: The escrow account balance is projected to be                                             $295.67
   above the required minimum balance. This means there is an overage.


   Future payments: Based on what we expect to pay,      as of August 15, 2017, the
   escrow portion of the payment will decrease.



   Part 1- Mortgage payment
   New Payment                    The new total payment will be $1,746.20
                                           Current          New
                                           payment       payment
                                                                                                              No action required
 Principal and/or interest                        $1,395.52           $1,383.76
 Escrow payment                                     $562.37             $362.44          Starting August 15, 2017 the new contractual
                                                                                         payment amount will be $1,746.20
 Total payment amount                           $1,957.89           $1,746.20

 Note: If thisis an adjustable rate mortgage (ARM), a separate notice will be sent
 before the payment is scheduled to change.




See Page 2 for additional details.




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  Part 2 - Payment calculations
For the past review period, the amount of the escrow items was $4,304.63. For the coming year, we expect the amount paid from escrow to be
$4,349.22.

How was the escrow payment calculated?
To determine the escrow payment, we add the projected escrow items to be paid over the next 12 months. We base these projected amounts on any
escrow items that may have been paid in the past and any future anticipated payments to be made. We then divide the total amount by 12 payments
to determine the escrow amount.

The chart below includes any actual escrow disbursements as well as any shortage that may have been identified for the past three analysis periods.



Escrow comparison
                                                                                                                                        New monthly
                                   09/15 - 09/16      02/16 - 02/17      08/16 - 06/17     08/17 - 07/18                of
                                                                                                                        #                  escrow
                                     (Actual)           (Actual)           (Actual)         (Projected)               months               amount
Property taxes                           $2,845.55         $2,952.05         $2,996.63        $3,041.22        ÷         12       =          $253.44
Property insurance                       $1,456.00         $1,308.00         $1,308.00        $1,308.00        ÷         12                  $109.00
Total taxes and insurance                $4,301.55         $4,260.05         $4,304.63        $4,349.22        ÷         12       =          $362.44
Escrow shortage                              $o.00             $0.00         $2,340.41            $0.00
Total escrow                             $4,301.55         $4,260.05         $6,645.04        $4,349.22                                      $362.44


Projected escrow account activity over the next 12 months
To determine if there will be a shortage or overage in the account, we calculate whether the amount of the lowest projected escrow balance will be
greater or less than the required minimum balance. This is determined by subtracting the required minimum balance from the lowest projected
balance. If the outcome is positive, there is an overage. If it is negative, there is a shortage. The calculation is below:

                                                                                                   (Calculated in Part 3 - Escrow account projections
Lowest projected escrow balance November, 2017                                  $295.67            table)

Minimum balance for the escrow account                                             $0.00

Escrow overage                                                       =
                                                                                $295.67


Important messages
Wells Fargo is changing the way we handle escrow overage/surplus amounts. Previously, checks were sent to refund overages $50.00 or greater,
while lesser amounts simply reduced a future payment. As of June 1, 2016, checks will be sent for all refunds, regardless of amount. To learn more
about escrow accounts, visit wellsfargo.com/escrow.
Act now - purchase your own insurance policy
Our records show that the insurance policy covering the home structure was obtained by Wells Fargo. Please understand that this policy only covers
structure/improvements, but does not cover liability or any personal property. For this reason, consider purchasing a policy of your choosing - it may
lower the costs and give options for more coverage. If you sent us proof of a purchased policy, please disregard this message. If you have questions or
are having trouble paying for the insurance policy, call us at the number on the first page of this statement.




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   Part 3 - Escrow account projections
 Escrow account projections from August, 2017 to July, 2018
                                              What we
                  Payments to                 expect to                                                                        Projected escrow         Balance required
 Date               escrow                     pay out           Description                                                       balance               in the account
Jul 2017                                                         Starting balance                                                    $1,674.52                    $1,378.85
Aug 2017               $362.44                       $o.00                                                                          $2,036.96                     $1,741.29
Sep 2017               $362.44                       $o.00                                                                          $2,399.40                     $2,103.73
Oct 2017               $362.44                    $1,520.61      KING COUNTY (W)                                                     $1,241.23                     $945.56
Nov 2017                  $362.44                $1,308.00       AMERICAN SECURITY GROUP                                              $295.67                        $o.00
Dec 2017               $362.44                       $0.00                                                                            $658.11                      $362.44
Jan 2018               $362.44                       $0.00                                                                          $1,020.55                      $724.88
Feb 2018               $362.44                       $0.00                                                                           $1,382.99                    $1,087.32
Mar 2018               $362.44                       $0.00                                                                           $1,745.43                    $1,449.76
Apr 2018               $362.44                    $1,520.61      KING COUNTY (W)                                                      $587.26                      $201.50
May 2018               $362.44                       $0.00                                                                            $949.70                      $654.03
Jun 2018               $362.44                       $o.00                                                                           $1,312.14                    $1,016.47
Jul 2018               $362.44                       $o.00                                                                           $1,674.58                    $1,378.91
Totals               $4,349.28                   $4,349.22


   Part 4 - Escrow account history
 Escrow account activity from August, 2016 to July, 2017
                          Deposits to escrow                        Payments from escrow                                                          Escrow balance
    Date         Actual      Projected     Difference          Actual    Projected Difference                Description             Actual          Projected Difference
Aug 2016                                                                                                 Starting Balance           43,160.28         $1,462.67      -$4,622.95
Aug 2016          $456.52           $367.34        $89.18          $o.00            $o.00        $o.00                              42,703.76         $1,830.01      -$4,533.77
Sep 2016          $228.26           $367.34      -$139.08          $o.00            $o.00        $o.00                              -$2,475.50        $2,197.35      -$4,672.85
Oct 2016          $228.26           $367.34      -$139.08      $1,476.02       $1,476.03         -$0.01 KING COUNTY (W)             -$3,723.26        $1,088.66      -$4,811.92
                                                                                                         AMERICAN SECURITY GROUP
Nov 2016          $336.70           $367.34       -$30.64      $1,308.00      $1,456.00       -$148.00                              -$4,694.56           $o.00       -$4,694.56
Dec 2016          $228.25           $367.34      -$139.09          $0.00            $0.00        $0.00                              -$4,466.31         $367.34       -$4,833.65
Jan 2017          $228.25           $367.34      -$139.09          $o.00            $o.00        $o.00                              -$4,238.06         $734.68       -$4,972.74
Feb 2017          $228.25           $367.34      -$139.09          $0.00            $0.00        $0.00                              -$4,009.81        $1,102.02       -$5,111.83

Mar 2017          $456.50           $367.34        $89.16          $o.00            $o.00        $o.00                               -$3,553.31       $1,460.36      -$5,022.67
Apr 2017             $o.00          $367.34      -$367.34      $1,520.61       $1,476.03        $44.58   KING COUNTY (W)            45,073.02          $360.67       -$5,434.59
May 2017         $1,124.74          $367.34       $757.40          $o.00            $o.00        $o.00                              -$3,949.18         $728.01       -$4,677.19

Jun 2017         $5,061.33          $367.34     $4,693.99          $o.00            $o.00        $o.00                                $1,112.15       $1,095.35          $16.8o
 (estimate)
Jul 2017           $562.37          $367.34       $195.03          $o.00            $o.00        $o.00                                $1,674.52       $1,462.69         $211.83
(estimate)
Totals           $9,139.43      $4,408.08        $4,731.35     $4,304.63      $4,408.06       -$103.43




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